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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 19−25410−VFP
                                          Chapter: 7
                                          Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Karin A. Weinraub
   802 Albermarle Street
   Wyckoff, NJ 07481
Social Security No.:
   xxx−xx−4321
Employer's Tax I.D. No.:


                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Steven P. Kartzman is discharged as trustee of the estate of the above named debtor(s) and
the bond is canceled; and the case of the above named debtor(s) is closed.


Dated: December 10, 2019                           Vincent F. Papalia
                                                   Judge, United States Bankruptcy Court
